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                            UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF MICHIGAN
                                                      CRIMINAL MINUTE SHEET
USA v.     Rick Vernon Johnson                                                          Mag. Judge: Phillip J. Green

   CASE NUMBER                       DATE                  TIME (begin/end)             PLACE                   INTERPRETER


 1:23-cr-00040-JMB-1               4/25/2023              10:03 AM-10:51 AM          Grand Rapids


APPEARANCES:
Government:                                               Defendant:                                    Counsel Designation:
Christopher O'Connor & Richard Stiffler                    Nicholas Voss Dondzila                       Retained


         OFFENSE LEVEL                                 CHARGING DOCUMENT/COUNTS                            CHARGING DOCUMENT
                                                                                                         Read
Felony                                      Information                                                  Reading Waived

           TYPE OF HEARING                                         DOCUMENTS                              CHANGE OF PLEA

   First Appearance                                   Defendant's Rights                        Guilty Plea to Count(s) 1
   Arraignment:                                       Waiver of Indictment                      of the Information
         mute              nolo contendre             Consent to Mag. Judge for Plea
                           guilty                                                               Count(s) to be dismissed at sentencing:
         not guilty
                                                      Other:
   Initial Pretrial Conference
                                                                                                Presentence Report:
   Detention          (waived                                                                          Ordered      Waived
   Preliminary    (waived                          Court to Issue:                                  Plea Accepted by the Court
   Rule 5 Proceeding                                 Report & Recommendation
                                                                                                    No Written Plea Agreement
   Revocation/SRV/PV                                 Order of Detention
                                                     Order to file IPTC Statements
   Bond Violation                                                                                    EXPEDITED RESOLUTION
                                                     Bindover Order
   Change of Plea                                    Order Appointing Counsel                       Case appears appropriate for
   Sentencing                                        Other:                                         expedited resolution
  Other:                                           Rule 5F Order


                       ADDITIONAL INFORMATION                                                     SENTENCING
                                                                             Imprisonment:
                                                                             Probation:
                                                                             Supervised Release:
                                                                             Fine: $
                                                                             Restitution: $
                                                                             Special Assessment: $
                                                                             Plea Agreement Accepted:             Yes    No
                                                                             Defendant informed of right to appeal:         Yes    No
                                                                             Counsel informed of obligation to file appeal: Yes    No


                 CUSTODY/RELEASE STATUS                                                  BOND AMOUNT AND TYPE

Released on Bond                                                       $ 25,000.00                      Unsecured

CASE TO BE:           Referred to District Judge                       TYPE OF HEARING: Sentencing

Reporter/Recorder:          Digitally Recorded                         Courtroom Deputy:            J. Wright
